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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :
v.                                  :    Crim. No. 1:19-CR-000390 (RC)
                                     :
MICHAEL WILKINS,                     :
                   Defendant.        :
____________________________________:

                      GOVERNMENT’S OPPOSITION TO
            DEFENDANT’S MOTION TO SUPPRESS TANGIBLE EVIDENCE

        COMES NOW, The United States of America, by and through its attorney, the United

States Attorney for the District of Columbia, hereby submits this opposition to defendant Michael

Wilkins’s motion to suppress tangible evidence, specifically two cellphones and an Instagram

account and the data contained therein (ECF No. 39). For the reasons set forth below, the motion

should be denied without the need for an evidentiary hearing.

   I.      Introduction

        Three search warrants are at issue: (1) the Search and Seizure Warrant issued on

September 18, 2019 for a ZTE cellular phone (“ZTE Warrant”) seized incident to the defendant’s

arrest for a traffic violation on June 18, 2018; (2) the Search and Seizure Warrant issued on

November 8, 2019 for a Samsung cellular phone (“Samsung Warrant”) seized incident to the

defendant’s arrest on November 5, 2019; and (3) the Search and Seizure Warrant issued on

November 8, 2019 for the Instagram account associated with “THEREAL_LUCKYCHARM”

a.k.a. “Michael Wilkins” (“Facebook Warrant”).

        In his motion, the defendant claims that the ZTE Warrant was issued without probable

cause and after a fifteen month delay following the ZTE phone’s seizure. Although there was a


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delay between the seizure of the phone and the detective’s submission of a search warrant

application in relation to the phone, the delay did negate probable cause. Furthermore, at no time

during those fifteen months did the defendant seek the return of his phone, rendering null any

supposed possessory interest he had in the phone.

         The defendant further asserts that the ZTE and Facebook search warrants obtained by the

government after being presented to a neutral, detached magistrate judge lacked probable cause,

and that all three challenged warrants are fatally overbroad. For the reasons set forth below,

these arguments are without merit. Even assuming, arguendo, that the warrants lacked probable

cause or were overbroad, law enforcement acted in good faith at all times in obtaining and

executing the search warrants authorized by the Court.

         The government therefore respectfully requests that this Honorable Court deny the

defendant’s motion to suppress.

   II.      Factual Background

         Members of the Metropolitan Police Department of the District of Columbia (“MPD”)

and the FBI’s Child Exploitation and Human Trafficking Task Force (“CEHTTF”) have been

actively investigating an area of Washington, DC known for street-level commercial sexual

exploitation. This area stretches from the South at K Street, Northwest to the North at Rhode

Island Avenue, Northwest, and from the East at 9th Street, Northwest, to the West at 14th Street

Northwest. Individuals who frequent this area commonly refer to it as the “Track” or the

“Blade.” The Track is the subject of a substantial number of complaints to police between the

hours of 3:30 a.m. to 8:00 a.m. by individuals residing or working in the area. These complaints

are primarily related to crimes stemming from the ongoing commercial sexual exploitation




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activity occurring in this area, to include complaints of robberies, prostitution, disorderly

conduct, and violent assaults.

       On July 26, 2019, members of the CEHTTF participated in a prostitution proactive

operation on the Track, where they conducted surveillance, contacted potential victims and

witnesses, and identified individuals engaging in commercial sexual exploitation and/or sex

trafficking. During this surveillance, law enforcement observed Michael Jabaar Wilkins

(hereinafter the “defendant”) driving a Cadillac sedan. Law enforcement observed a woman,

later identified as Victim 1, enter the car the defendant was driving at a BP gas station located on

13th Street in Northwest Washington, D.C. Members of the CEHTTF observed the defendant

drive away from the gas station, and approach the intersection located at Rhode Island Avenue

and 1st Avenue Northwest. The defendant’s vehicle was last seen heading towards the border of

the District of Columbia and Maryland.

       On August 3, 2019, members of MPD’s Human Trafficking Unit (HTU) were acting in

an undercover capacity around the Track, including one HTU member who was posing as a

prostitute (“UC”). The defendant approached the UC in a conversion van and asked who she

worked for and why she was out on his block. He asked if she was looking for a date and grew

agitated before walking away. The defendant continued to watch the UC as she interacted with

potential commercial sex customers. When a customer the UC was speaking with left the area,

the defendant approached her and asked why she was giving money away, to which she

responded that she did not turn any tricks for $15. The defendant then asked how much money

the UC had on her and reached for her fanny pack. The UC swatted the defendant’s hand away,

and he squared up in a fighting stance and chest bumped her. He then told the UC to go sit in the




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green van so that they could talk. The UC informed the defendant that she had not “chosen up,”

and that she was not going anywhere with him.

       On August 7, 2019, at approximately 7:00 a.m., a resident of the 1300 block of 12th

Street, Northwest observed an assault behind her home. The assault was also captured by

surveillance footage. The reporting witness advised that she saw a male, whom the witness

believes is a pimp, attack a female whom the witness referred to as a prostitute. The reporting

witness forwarded this information and the surveillance footage to a member of MPD’s Third

District. A review of the surveillance footage shows the defendant physically assaulting Victim

1. The video depicts the defendant cornering Victim 1 in the parking pad of a home in the 1300

block of 12th Street Northwest. The defendant is shown grabbing Victim 1’s arm as she

attempts to move away from him, and striking her with an open hand. The video also shows the

defendant grabbing either side of Victim 1’s head and neck and shaking her head. During this

assault, Victim 1, who is trapped against a car, attempts to shield her face from the defendant.

       On August 8, 2019, MPD’s Third District forwarded a copy of the surveillance video

showing the assault to Detective Thomas Sullivan, a CEHTTF investigator. Detective Sullivan

acted expeditiously. He conducted a records search of open source and law enforcement

databases in an effort to determine the Victim 1’s identity. A photograph of Victim 1 was

uploaded to facial recognition software, which led to a match. Law enforcement learned that

Victim 1 was a witness to an incident in Norfolk, Virginia, on June 12, 2019, in which the

defendant suffered a gunshot wound to his groin. Information provided to law enforcement

about this incident has led to the conclusion that this gunshot wound was self-inflicted.

       Through an open source database search, Detective Sullivan discovered a T-Mobile

phone number identified as belonging to Victim 1. Upon searching a database that compiles



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commercial sex advertisements, he learned that the phone number was linked to 691 commercial

sex advertisements, depicting Victim 1, between February 1, 2019 and August 10, 2019.

       Detective Sullivan also searched the social media website, Instagram, which resulted in the

identification of a private account named thereal_luckycharm, which features a photograph of the

defendant as the profile picture. A member of the CEHTTF thereafter searched a social media

account used by a known trafficker, which has been assumed by law enforcement, to locate any

interactions between the defendant’s Instagram account and the known trafficker. They were

successful. The search uncovered conversations between the defendant and the known trafficker

using “pimp slang”—i.e., terms used by individuals engaged in commercial sexual exploitation as

pimps to reinforce the culture and lifestyle of a pimp. The defendant provided a T-Mobile phone

number, (757) 785-7182, to the known trafficker via Instagram Direct Message. Detective

Sullivan’s public records search of this phone number revealed that it had been used or identified

as belonging to the defendant on several occasions.

       In addition to the investigative steps detailed above, Detective Sullivan searched law

enforcement databases and open source databases in an attempt to identify a history of law

enforcement’s contacts with the defendant. This search revealed that a witness advised law

enforcement on September 9, 2017 that he had known the defendant since he was a child, and that

the defendant was a pimp who has a history of being involved in narcotics distribution. The

witness further reported that the defendant had transported at least three women to Washington,

DC to engage in prostitution, and that he had been arrested in Virginia with one of these women.

       It was this law enforcement contacts search that first revealed to Detective Sullivan a June

18, 2018 arrest of the defendant. The details of that arrest are, as follows: Members of MPD’s

Third District observed a vehicle the defendant was operating in the K Street area of Washington,



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DC multiple times that day, driving around the Track. The members also witnessed the operator

of the vehicle approach and speak with women who were known to engage in commercial sex

work. The members observed the defendant commit a traffic offense and conducted a traffic stop,

which led to his arrest for “No Permit.” During his arrest, a ZTE cellular phone was found on his

person, and it was seized incident to his arrest. At the time of his arrest, the defendant was a person

of interest to MPD in relation to ongoing prostitution-related activity on the Track. The ZTE phone

has remained in MPD’s custody since its seizure.

       On September 12, 2019, law enforcement observed the defendant transporting Victim 1

to a local hotel in order to engage in a commercial sex “date”. What neither the defendant nor

Victim 1 knew on that occasions was that this “date” was actual a law enforcement officer,

acting in an undercover capacity. Upon her arrival at the pre-arranged meeting location, a hotel,

Victim 1 was arrested. A cellular telephone was seized from Victim 1 and vouchered as

evidence. When interviewed by law enforcement in September of 2019, Victim 1 identified the

defendant as her pimp and stated that his nickname is “Lucky.” On that same date, law

enforcement also observed the green van, described above, shortly after Victim 1 was arrested,

and they conducted a traffic stop of the vehicle, which was observed idling at a gas station for an

extended period of time. The defendant was the driver of the vehicle, and there were no other

occupants in the vehicle. The defendant agreed to a search of his vehicle. Several purses, a bulk

package of Trojan condoms, and items of female clothing were located in the van. The

defendant was not placed under arrest, and he was free to leave that that time.

       A mere six days after the arrest of Victim 1, on September 18, 2019, Detective Sullivan

applied for a warrant to search the ZTE phone that had been seized from the defendant’s person




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incident to his arrest in June 2018, as well as for the cellular telephone seized from Victim 1

incident to her arrest. Magistrate Judge Meriweather issued the warrant the same day.

       A review of the defendant’s text messages with Victim 1, found on the phone recovered

from Victim 1, show that he has engaged in a pattern of persuading, inducing, and coercing her

to travel from Virginia to D.C. in order to engage in commercial sex acts for his financial gain.

For example, on August 16, 2019, the defendant sent a text message to Victim 1 which stated,

“Get up baby come on down here I’ve been telling the my b**** coming back its prime time

Friday daddy broke ass shit im hurting I need my hoe to do her hoely dutys hurry up n come see

about me.” On August 31, 2019, the defendant sent a “selfie”-style photograph which included a

message which reads, “come home bitch.”

       Additional text messages found on Victim 1’s phone show that the defendant often

preyed upon Victim 1’s feelings for him, in an effort to entice her into engaging in commercial

sexual activity for his benefit. The defendant sent Victim 1 a series of text messages which read,

“I still hav love for u stop crying I want to make things right come on back up here with me we

need eachother baby”; “Daddy gon take care of u”; and “Don’t be no fool bitch stay focused that

bitch washy washy get ur ass on the bus n let’s carry on our mission bitch….” On September 3,

2019, the defendant sent Victim 1 a series of texts that read, “So why don’t us come up here so

we can get sum money”; “Its no need for me to wait for u cuz i know you aint coming back cuz

if u was u would have been came im just ready to come back n get on my mission to get me

some money my car right n find me a new bitch a strong one”; and “So get up here then lets get

all the money we can get so I can grind while im home.” Subsequent text exchanges on

September 3 – 4, 2019 discuss Victim 1 traveling by bus from Norfolk, VA to Washington, D.C.

Through these messages, Victim 1 provided the defendant with the address of Union Station,



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located in Washington D.C., and informed him that she would arrive at 1:30 a.m. on the morning

of September 5, 2019. A text message exchange, which occurred on September 5, 2019 at

approximately 4:25 a.m., reads as follows:

           Defendant: Walk down 2 12
           Defendant: Move on the outskirts
           Victim 1: OK what u seen police harassing 1

       Additional text messages found on Victim 1’s phone, between the defendant and Victim

1 on September 5, 2019, reveal that at approximately 6:21 p.m. on that date, the defendant

instructed Victim 1 to, “Go head to the room bitch.” Victim 1 responded, “When they call IMA

lower my rates just by a dub doe.” 2 The defendant replied, “Okay a bagger cant be choosy or

picking they hav to accept what they give them that’s not us but everything is negotiable.” The

defendant then texted Victim 1, at 9:05 pm, “I’m bout to date him for room…text you the room

number when done daddy.”

       During the early morning hours of November 3, 2019, members of CEHTTF had reason

to believe that the defendant and Victim 1 were in the D.C. area. It appeared that they were on

or near the Track between approximately 3:00 a.m. and 7:00 a.m. On November 4, 2019,

members of the CEHTTF conducted surveillance on the track between approximately 6:00 a.m.

to 7:30 a.m. Law enforcement observed Victim 1 standing near the intersection of 12th Street

and M Street Northwest, and later observed the defendant operating the Hyundai Elantra near the

south edge of Logan Circle.




1
  All text abbreviations and typographical errors in quoted text appear as they do in the original
evidence.
2
  Based upon the training and experience, of Detective Sullivan, the affiant of the search
warrants at issue, this translates roughly to “I had to drop the price by $20 though.”
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          On November 5, 2019, at approximately 5:00 a.m., law enforcement observed the

defendant operating the same Hyundai Elantra near the intersection of 14th and Rhode Island

Avenue Northwest. The defendant was stopped in the identified Hyundai Elantra at the 1100

block of 14th Street Northwest, and taken into custody by the FBI WFO Tactical Team. He had

$1,204 in cash on his person. The defendant was in the possession of a Samsung cellular

telephone at the time of his arrest, which was seized incident to his arrest. Three days later, on

November 8, 2019, Detective Sullivan applied for warrants to search the Samsung phone and the

Instagram account thereal_luckycharm. Magistrate Judge Harvey issued the warrants the same

day.

   III.      Legal Standard for Suppression Motions

          If evidence was seized pursuant to a search warrant, the defendant bears the burden of

proving that the evidence in question was seized in violation of his Fourth Amendment rights.

See, e.g., United States v. Hassanshahi, 75 F. Supp. 3d 101, 108 (D.D.C. 2014) (citing Rakas v.

Illinois, 439 U.S. 128, 130 n.1 (1978) & United States v. Jones, 374 F.Supp.2d 143, 147 (D.D.C.

2005)). Factual allegations set forth in a defendant’s motion to suppress must not be “merely

conclusory or conjectural,” and an evidentiary hearing is only required if the factual allegations,

“if established, would warrant relief.” See United States v. Thornton, 454 F.2d 957, 967 n. 65

(D.C. Cir. 1971) (citations omitted).




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    IV.      Argument

          A. Any Delay in the Government’s Investigation Did Not Implicate the Defendant’s
             Constitutional Rights. 3

          To assess the reasonableness of a seizure, courts “must balance the nature and quality of

the intrusion on the individual’s Fourth Amendment interests against the importance of the

governmental interests alleged to justify the intrusion.” United States v. Place, 462 U.S. 696,

703 (1983). While the delay in securing the ZTE Warrant was not brief by any means, it did not

constitute a “meaningful interference” with any recognizable possessory interest of this specific

defendant. See United States v. Jacobsen, 466 U.S. 109, 113 (1984). One who was unaware of

or, as here, expressed no concern about a detriment to his possessory interest during the duration

of the government’s warrantless custody of his property cannot later claim to have experienced

any such interference—much less a meaningful one. See id. at 124–26 (noting government’s

intrusion on possessory interest went “unnoticed” by defendant); United States v. Johns, 469

U.S. 478, 487 (1985) (defendants who “never sought return of the property” cannot argue that

“the delay in the search ... adversely affected legitimate interests protected by the Fourth

Amendment”); see also United States v. Stabile, 633 F.3d 219, 235 (3d Cir. 2011), cert. denied,

132 S. Ct. 399 (U.S. 2011) (affirming denial of suppression motion after finding defendant’s

possessory interest in computer “undermine[d]” by fact that he did not ask for return of hard

drives until eighteen months after initial seizure).

          In rejecting an argument that a one-year delay between a seizure and search pursuant to a

warrant was unreasonable, the Eighth Circuit held that “[t]o the extent [the defendant] complains




3
 In his motion, the defendant does not challenge the initial seizure of the ZTE phone incident to
his arrest, which was a legal seizure of the phone; he only challenges the delay between the
phone’s seizure and Detective Sullivan’s application for a warrant to search its contents.
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of interference with his possessory interest in the [device], Rule 41(g) of the Federal Rules of

Criminal Procedure provided a remedy he did not invoke.” United States v. Gregoire, 638 F.3d

962, 968 (8th Cir. 2011). Similarly, in the instant case, the defendant did not invoke Rule 41(g) 4

until the instant motion, nearly two and a half years after the phone’s initial seizure.

Accordingly, any possessory interest the defendant may once have had in the phone should be

deemed waived. See United States v. Colbert, 474 F.2d 174, 176 (5th Cir.1973) (en banc) (“[I]t

is settled law that one has no standing to complain of a search or seizure of property he has

voluntarily abandoned.”). Moreover, based on messages recovered from the defendant’s

Instagram account, it appears that the defendant replaced the ZTE phone shortly after his June

2018 arrest, 5 further undermining his possessory interest in the phone. See United States v.

Sparks, 806 F.3d 1323, 1344 (11th Cir. 2015), overruled on other grounds by United States v.

Ross, 963 F.3d 1056 (11th Cir. 2020) (“Where, as here, the purchase of a replacement phone

follows the ceasing of efforts to recover the original phone despite knowledge of how to obtain

the return of the original phone through reasonable efforts, those actions provide further

confirmation of a deliberate decision to abandon the original phone.”).

       The defendant’s reliance on United States v. Mitchell is misplaced given the facts of this

case. See United States v. Mitchell, 565 F.3d 1347 (11th Cir. 2009). The Eleventh Circuit in

Mitchell found a “substantial” possessory interest was implicated when the defendant’s hard

drive was seized by the government because it deprived him of the “digital equivalent of [his]

home.” Mitchell, 565 F.3d at 1351–52. But here, the defendant’s claimed possessory interest in




4
  Because this was an arrest by MPD, the local rules may have been applicable. However, the
defendant likewise did not exercise his rights under the identical Rule 41(g) of the Superior
Court Rules of Criminal Procedure.
5
  Detective Sullivan is prepared to testify to this fact, if desired, at an evidentiary hearing.
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the ZTE phone is disingenuous. At no point until the instant motion—two years and four months

after law enforcement’s seizure of the phone—did the defendant seek the return of the ZTE

phone. This notable lack of concern over his access to its contents trivializes any recognizable

interest that might have been interfered with by the government’s delay. Moreover, the ZTE

phone—a smart phone—did not require any password or biometrics for access, 6 diminishing any

alleged privacy interest the defendant had in the phone. Cf., e.g., Trulock v. Freeh, 275 F.3d

391, 403 (4th Cir. 2001) (“By using a password, [the defendant] affirmatively intended to

exclude…others from his personal files [in a computer].”)

          Further bolstering the government’s end of the balancing test, at the time of the phone’s

initial seizure, the defendant was a person of interest to MPD officers, who were aware that he

was involved in ongoing prostitution-related activity in a specific bounded area in Northwest,

Washington, DC. ZTE Warrant Aff., Para. 22. Subsequent investigation revealed that the

defendant had been actively engaged in the trafficking of females for the purpose of prostitution

since at least 2017. Id. at Para. 20. Also weighing in favor of the government is its “interest in

protecting evidence from destruction[,]” which is “particularly high where digital evidence is

involved, because such evidence is inherently ephemeral and easily destructible.” United States

v. Bradley, 488 F. App'x 99, 104 (6th Cir. 2012) (unpublished).

          In sum, the defendant’s possessory interest in the phone, which he never raised or

asserted in any form for nearly two and a half years, is meager in comparison with the

government’s interest in preserving evidence of sex trafficking and commercial sexual

exploitation that is contained in the ZTE phone. Thus, the totality of the circumstances

demonstrate that law enforcement’s actions here were reasonable. See Stabile, 633 F.3d at 235.



6
    Detective Sullivan is prepared to testify to this fact, if desired, at an evidentiary hearing.
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        B. There Was Probable Cause to Search the Defendant’s Cell Phone and Instagram
           Account.

        The search warrant affidavits reflect ample probable cause to search the defendant’s ZTE

phone and Instagram account. In evaluating probable cause, the assessment should be a “practical,

common-sense decision whether, given all the circumstances set forth in the affidavit . . . there is

a fair probability that contraband or evidence of a crime will be found in a particular place.” U.S.

v. Cardoza, 713 F.3d 656, 659 (D.C. Cir. 2013) (citing Illinois v. Gates, 462 U.S. 213 (1983)).

The sufficiency of the showing underlying the issuance of a search warrant requires “not a prima

facie showing,” only a “fair probability.” Gates, 462 U.S. at 235.

        As articulated by the Supreme Court, “[p]robable cause is not a high bar.” District of

Columbia v. Wesby, 138 S. Ct. 577, 586 (2018). In Wesby, the Court reaffirmed that:

               Because probable cause deals with probabilities and depends on
               the totality of the circumstances, it is a fluid concept that is not
               readily, or even usefully, reduced to a neat set of legal rules. It
               requires only a probability or substantial chance of criminal
               activity, not an actual showing of such activity.

Id. (citations and punctuation omitted). The D.C. Circuit accords “great deference” to the

judicial officer’s determination of probable cause. United States v. Spencer, 530 F.3d 1003,

1006 (D.C. Cir. 2008) (citing Gates, 462 U.S. at 236). Furthermore, under the Leon good faith

exception, “suppression of evidence is usually not required when officers conduct a search in

reasonable reliance on a search warrant issued by a detached and neutral magistrate.” Cardoza,

713 F.3d at 658 (citing Leon, 468 U.S. at 897).

   i.   The ZTE Warrant Affidavit Established Probable Cause.

        A fair reading of the ZTE Warrant affidavit reveals that more than sufficient probable

cause existed to search the defendant’s phone for evidence of trafficking-related offenses. In the

affidavit, Detective Sullivan included the following facts: (1) in September 2017, a witness


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advised law enforcement that he had known the defendant since he was a child, and that the

defendant was a “pimp and “had transported at least three women to Washington, DC to engage

in prostitution”; (2) on June 18, 2018, in the early morning hours, law enforcement observed a

vehicle the defendant was operating driving around a known prostitution area and observed the

operator of the vehicle speak with known prostitutes; (3) that same day, the defendant was

arrested for a traffic offense while operating the same vehicle in the same area, and MPD officers

seized the ZTE phone from his person incident to his arrest; (4) the affiant reviewed surveillance

footage dated August 7, 2019, which had been provided by a resident living near the known

prostitution area, and the footage depicted a man the affiant recognized as the defendant

assaulting a woman known to be engaging in commercial sex work (hereinafter referred to as

“Victim 1”) in the area, and the audio of the video makes clear the assault was a result of a

disagreement over prostitution activity; and (5) a search of a social media account used by a

known trafficker, which had been assumed by law enforcement, revealed conversations between

the defendant and the known trafficker “using pimp slang terms,” and showed that the defendant

had provided a phone number associated with him to the known trafficker via Instagram Direct

Message. ZTE Warrant Aff., Paras. 9–12, 18–20, 22.

       With these facts alone, there was more than sufficient probable cause—which, again, “is

not a high bar,” Wesby, 138 S. Ct. at 586—that the defendant had committed violations of 18

U.S.C. § 1591, the federal sex trafficking statute. The affidavit went on to detail how on

September 12, 2019, an undercover officer arranged a commercial sex “date” with Victim 1, that

Victim 1 was dropped off for the “date” by a person operating a Dodge Ram van, and that the

defendant was observed and stopped by law enforcement, shortly thereafter, driving the same

van seen dropping off Victim 1 for the commercial sex “date.” ZTE Warrant Aff., Paras. 24–26.



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       The defendant argues that the affidavit failed to allege that he was “observed using the

phone immediately after apprehension” or was “known to have communicated on the phone with

conspirators.” Def’s Mot. Supp. 11. He ignores, however, the affidavit’s statements that the

ZTE phone was found “on his person” the same day he was observed interacting with women

known to engage in commercial sex, that the defendant provided his phone number to a known

trafficker (presumably to communicate with him using the cellular phone), and that the defendant

and the known trafficker conversed via Instagram using “pimp slang terms.” ZTE Warrant Aff.,

Paras. 18–19, 27; cf. United States v. Thomas, 989 F.2d 1252, 1254–55 (D.C. Cir. 1993) (holding

that “observations of illegal activity occurring away from the suspect’s residence, can support a

finding of probable cause to issue a search warrant for the residence, if there is a reasonable basis

to infer from the nature of the illegal activity observed, that relevant evidence will be found in

the residence”).

       As demonstrated above, the facts in the affidavit clearly establish a “fair probability” that

evidence of trafficking-related offenses and the identities of “other females who have been

trafficked by” the defendant would be located on the ZTE phone. See Gates, 462 U.S. at 235;

ZTE Warrant Aff., Paras. 20, 27.

       ii. The Facebook Warrant Affidavit Establishes Probable Cause.

       Similarly, the Facebook Warrant affidavit reflects ample probable cause to search the

defendant’s Instagram account for evidence of trafficking-related offenses. Contrary to the

defendant’s claim that the affidavit was “void of any concrete or reliable support for Detective

Sullivan’s speculatory statements,” Def’s Mot. Supp. 13–14, the affidavit is replete with facts

demonstrating probable cause to search the Instagram account for evidence of sex trafficking.

The affidavit states that: (1) the target Instagram account’s name is Thereal_luckycharm, and it



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bore a photograph of the defendant as the profile picture; (2) the woman dropped off for a

commercial sex “date’ with an undercover officer by the defendant in September 2019 identified

him as her pimp and said she knew him as “Lucky”; and (3) based on Detective Sullivan’s

training and experience:

               Pimps and their prostitutes are now meeting with increased
               regularity via social media like Instagram, Facebook, Snapchat,
               and other popular social media websites. Pimps use these websites
               to promote their lifestyles, wealth, and belongings as a way to
               recruit females into their stable. Pimps use the social media
               accounts to directly message or contact potential prostitutes to
               begin the recruitment process by applying pressure or attempting
               to sell the pimp lifestyle to the victims.

Facebook Warrant Aff., Paras. 3.f, 17, 26–28.

       Even without Detective Sullivan’s statements about his training and experience, there

was sufficient probable cause to search the defendant’s Instagram account because there was

ample evidence that he was using his Instagram account to conduct his trafficking operation. For

example, a search of a social media account used by a known trafficker, which had been assumed

by law enforcement, revealed conversations between the defendant and the known trafficker

“using pimp slang terms,” and showed that the defendant had provided a phone number

associated with him to the known trafficker via Instagram Direct Message. Facebook Warrant

Aff., Paras. 19–20.

       Text messages obtained from the phones of the complainant and the defendant further

demonstrate that he repeatedly attempted to persuade, induce, and entice the complaint to travel

from Norfolk, VA to Washington D.C., in order for her to engage in prostitution for his benefit.

See, supra, section II; Facebook Warrant Aff., Paras. 30–34. In addition, geographic location

data for the phone numbers tied to Victim 1 and the defendant revealed that they were

“consistently in close proximity” to one another, and that they frequented hotels in DC,


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Maryland, and Virginia during a time period in which commercial sex advertisements for Victim

1 were active. Id. at Para. 37. Furthermore, on November 3, 2019, task force members used the

geolocation data associated with phones belonging to Victim 1 and the defendant to pinpoint the

defendant’s and Victim 1’s location on the Track between approximately 3:00 a.m. and 7:00 a.m.

and then at a motel near Andrew Air Force Base in Maryland. Id. at Para. 41.

       In addition to the specific evidence from this investigation, Detective Sullivan’s

statements about his training and experience regarding trafficking operations, in general,

strengthened the already sufficient probable cause for the search. Magistrate Judge Harvey was

entitled to “give considerable weight to the conclusions of this experienced law enforcement

officer regarding where evidence of a crime was likely to be found.” See, e.g., United States v.

Hodge, 246 F.3d 301, 307 (3d Cir. 2001) (internal citation, quotation marks, and punctuation

omitted). For example, in drug trafficking cases, the D.C. Circuit has, through the lens of Leon,

given deference to the training and experience of an affiant-officer’s observations regarding the

likelihood of finding contraband in a drug trafficker’s home. See, e.g., United States v.

Washington, 775 F.3d 405, 409 (D.C. Cir. 2014). Similarly here, Detective Sullivan’s

observations regarding the general practices of pimps in commercial sex operations—

specifically, that pimps communicate with prostitutes working for them through social media—

should be given due credit. See id.; Facebook Warrant Aff., Para. 3f. In light of the ubiquity of

social media, and given that pimps, like drug dealers, “don’t tend to work out of office

buildings[, …] no training is required to reach this commonsense conclusion.” United States v.

Spencer, 530 F.3d 1003, 1007 (D.C. Cir. 2008); see also United States v. Griffith, 867 F.3d 1265,

1268 (D.C. Cir. 2017) (“[O]ur phones frequently contain information chronicling our daily

lives—where we go, whom we see, what we say to our friends, and the like.”).



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        As described above, the affidavit describes in detail text conversations between the

defendant and Victim 1 that corroborate the defendant’s status as the man who was commercially

sexually exploiting her. See, e.g., Facebook Warrant Aff., Para. 31 (“its prime time Friday daddy

broke ass shit im hurting I need my hoe to do her hoely dutys”). While it is true that boiler-plate

generalizations, alone, might be insufficient to establish probable cause or render official reliance

on them reasonable, the other facts in the affidavit, taken together with the observations founded

upon Detective Sullivan’s training and experience, support reasonable reliance and are sufficient

to establish probable cause.

       The defendant also asserts that the affidavit did not provide support for why a search of

the “entire account” could yield additional evidence, and that a search of the entire account was

not necessary to confirm that the defendant used the account. Def’s Mot. Supp. 13–14. Both

claims are without merit. As detailed above, Detective Sullivan set forth several facts

establishing probable cause that the defendant had committed trafficking-related offenses,

including that he had transported women to engage in commercial sex since at least September

2017, and that he had exchanged messages with a known trafficker through the Instagram

account using pimp slang terms in December 2018. See, supra, section IV.B.i. Given the

existence of multiple potential trafficking victims and the multi-year span in which the defendant

was alleged to have committed these criminal offenses, it was reasonable for Detective Sullivan

to request, and for Magistrate Judge Harvey to authorize, a search of the entire Instagram

account for evidence of wrongdoing and the identities of other trafficking victims. Furthermore,

as specifically stated in the Affidavit, Detective Sullivan sought authorization to search the

entirety of the identified Instagram account in order to find information that could confirm

WILKIN’s identity as the social media user. See, Facebook Warrant Aff., Para. 50; See also,



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infra, section IV.C (addressing overbreadth argument). Finally, absent an admission from the

defendant that he used the Instagram account, it is absurd to argue that the government was

somehow wrong in seeking additional circumstantial evidence that the Instagram account

belonged to the defendant. In any event, the defendant cites no authority for his position, which

is yet another reason that it should be disregarded.

       Because the facts in the affidavit establish a fair probability that evidence of trafficking-

related offenses and the identities of other potential trafficking victims would be found in the

target Instagram account, the defendant’s motion should be denied on this basis, as well.

       C. The Warrants Authorizing the Search of the Phones and the Instagram Account
          Were Not Overbroad.

       The defendant erroneously contends that the warrant was overly broad, citing this Court’s

decision in Matter of Black iPhone 4, 27 F. Supp. 3d 74, because “law enforcement conducted a

full data extraction from the smart phone and seized thousands of digital files without any

probable cause to believe that the recovered data implicated criminal activity of any kind.”

Def.’s Mot. Supp. 17. While plucking language helpful to his position, the defendant misses the

key holding of Matter of Black iPhone 4. In that case, the Court denied a warrant application

after finding that the government had not established probable cause for the broad seizure of data

in the defendant’s iPhone. 27 F. Supp. 3d at 78. However, in Matter of Black iPhone 4, the

Court went on to state that “[w]ith one simple modification, these Applications would have

avoided the overbreadth problem: seize this information only insofar as it pertains to violations

of [two statutes].” Id.

       The Court’s exact proposal was incorporated into the warrant applications at issue in this

case. In each of the challenged application’s attachments, under information or property “to be

seized,” Detective Sullivan requested to seize information constituting “fruits,” “evidence,”


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“contraband,” and “instrumentalities … relating to violations of” various named statutes, “as

described in the search warrant affidavit.” ZTE Warrant Aff., Att. B, Para. 1 (emphasis added);

Samsung Warrant Aff., Att. B. Para. 1; see also Facebook Warrant Aff., Att. B, Sec. II.

Accordingly, under the rationale Matter of Black iPhone 4, the warrant applications contain no

overbreadth defect.

       The defendant also discusses United States v. Winn, a decision not binding on this Court,

at great length but ultimately to no avail. 79 F. Supp. 3d 904 (S.D. Ill. 2015). In that case, the

District Court for the Southern District of Illinois took issue “with the description of the object of

the search—‘any or all files’” because, in its view, the “police did not have probable cause to

believe that everything on the phone was evidence of the crime of public indecency.” Id. at 919.

It further explained that the “complaint did not offer any basis…to believe that the calendar,

phonebook, contacts, SMS messages, [etc.] were connected with Winn’s act of public

indecency.” Id. at 919–20.

       Detective Sullivan took care to ensure that the warrant applications were sufficiently

particular as to the items and data sought, including by incorporating the accompanying

affidavits by reference. United States v. Triplett, 684 F.3d 500, 505 (5th Cir. 2012) (holding that

affidavit incorporated by reference served to “amplify particularity,” and that “[w]hen viewed

alongside the affidavit, the warrant’s list of items to be seized is reasonably focused”). In

addition to confining the information to be seized and searched to violations of specific statutes,

see Matter of Black iPhone 4, 27 F. Supp. 3d at 78, the warrant applications identified numerous

types of records and information sought, including those “relating to the identity or location of

perpetrators, aiders and abettors, coconspirators” (as previewed by the Detective’s statements

regarding the defendant’s conversations with “a known trafficker” and eyewitnesses to the



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August 2019 assault). See, e.g., ZTE Warrant Aff., Att. B, Para. 1b. In other words, the warrant

applications do not reflect general “any and all records” requests that would allow law

enforcement to seize anything and everything on the devices and target account.

       Federal appellate courts have uniformly declined to require “search protocols” in warrant

applications that tell the police in advance how exactly to search an electronic device. See

United States v. Perez, 712 F. App’x 136, 139–40 (3d Cir. 2017) (collecting cases). This Court

has previously acknowledged courts’ “legitimate concerns about hamstringing a valid criminal

investigation by binding the government to a strict search protocol ex ante.” Matter of Black

iPhone 4, 27 F. Supp. 3d at 79 (citing United States v. Burgess, 576 F.3d 1078, 1094 (10th Cir.

2009)). Indeed, “[i]t is unrealistic to expect a warrant to prospectively restrict the scope of a

search by directory, filename or extension or to attempt to structure search methods—that

process must remain dynamic.” Burgess, 576 F.3d at 1093; see also Orin S. Kerr, Searches and

Seizures in a Digital World, 119 Harv. L. Rev. 531, 545 (2005) (“Exact search protocols are

difficult to settle ex ante; good forensic analysis is an art more than a science.”)

       Here, there is no meaningful way for law enforcement to know what falls within the scope

of the warrant as it pertains to electronic evidence without review of the entire return, to include

the invariable viewing of items that are not the object of the search. This practical understanding

is endorsed by courts. See Perez, 712 F. App’x at 139–40. For example, in the context of a

premises warrant, a peek into a nightstand drawer that could conceal a gun may instead reveal a

person’s prescription medications. Similarly, in a search through a person’s personal papers, “it

is certain that some innocuous documents will be examined, at least cursorily, in order to determine

whether they are, in fact, among those papers authorized to be seized.” Andresen v. Maryland,

427 U.S. 463, 482 n.11 (1976). Such intrusions, especially in the context of a cellphone, cannot



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be avoided – when the targets of a search are almost universally intermingled with innocent

objects, everything must be reviewed before it can be determined to be relevant and within the

scope of the warrant.

       It is unclear whether the defendant is suggesting that law enforcement must limit their

search to certain parts of phones or social media accounts, but many state and federal courts have

rejected such efforts. See, e.g., United States v. Bass, 785 F.3d 1043, 1049–50 (6th Cir. 2015)

(rejecting particularity and overbreadth challenges to warrant authorizing search of cell phone for

broad array of “records”); United States v. Christie, 717 F.3d 1156, 1165 (10th Cir. 2013) (holding

computer search warrant “may pass the particularity test if they limit their scope . . . to evidence

of specific federal crimes.”); United States v. Bishop, 910 F.3d 335, 336 (7th Cir. 2018) (“This

warrant does permit the police to look at every file on his phone and decide which files satisfy the

description. But he is wrong to think that this makes a warrant too general. Criminals don’t

advertise where they keep evidence.”); Hedgepath v. Commonwealth, 441 S.W.3d 119, 130–31

(Ky. 2014) (“[T]hough the warrant did not limit the parts of the cell phone that could be searched,

or the types of files or data that were to be sought, the clear thrust of the warrant was for evidence

related to the physical and sexual assaults committed on Mary Reyes. . . . The search warrant and

affidavit were sufficiently particular, both as to the cell phone and the type of evidence sought, to

make the search of the cell phone reasonable.”); People v. Lopez, No. 341089, 2019 WL 1370716,

at *5 (Mich. Ct. App. Mar. 26, 2019) (“When the search is limited to evidence explicitly authorized

in the warrant—here, evidence pertaining to the crime of assault with intent to murder—it is

reasonable for officers to search through the data and applications on the phone to determine

whether it contains the sought after evidence.”); People v. English, 32 N.Y.S.3d 837, 840 (Sup.

Ct. 2016) (“[T]o follow defendant’s invitation and to require courts in advance to restrict the



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computer search to certain methodologies or terms would give criminals the ability to evade law

enforcement scrutiny by utilizing coded terms in their files or documents, or placing such

documents in areas of the computer that would not normally contain such files/documents.”).

Criminals will naturally seek to conceal wrongdoing, throwing police searches that look only in

the most obvious places. In light of this obvious reality, courts should not artificially limit searches

of digital evidence.

        This is particularly true in a trafficking case where the defendant was using his phone and

Instagram to conduct his business. He was setting up “dates” for multiple women; picking

women up and driving them places, including across state lines; posting advertisements; and

communicating with other traffickers. In this case, there was no way for law enforcement to

know which portions of the gigabytes of data found in the cellphones and Instagram account

contained evidence related to the crimes under investigation in this case, or where exactly they

would be found. While the defendant quotes a single case that imposed protocols for limited

searches of the digital material in a phone at the warrant application stage, no additional

protocols beyond those already included in the warrant application were imposed by the

magistrate judge here. Facebook Warrant, Att. B. Moreover, Winn was a public indecency case.

79 F. Supp. 3d 904. As such, the evidence that supported probable cause in that case was

substantially different in nature and scope than the evidence that supports a finding of probable

cause in this trafficking investigation. Probative evidence can be—and in this case was—found

in the defendant’s contacts, call log, messages, GPS location data, etc., unlike in Winn, where the

court found “only two categories of data could possibly be evidence of the crime: photos and

videos.” 79 F. Supp. 3d at 919. The defendant provides no real argument as to which items

were seized in excess of the warrant’s terms and should therefore be returned, destroyed, or



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which would be inadmissible at trial. The defendant simply leaves the government and the Court

to guess which items might fall within the scope of the warrant and which might not.

       As alluded to above, the warrant itself provided protections against seizing information

outside the scope of the warrant. When requesting information from a social media provider, such

as Instagram, it is impossible for the provider to know what items may be relevant to the

investigation. This does not mean, however, that the government can seize the entirety of the

defendant’s Instagram account for any information it might wish to utilize for any purpose. As

Attachment B makes clear, the government must search the information provided and “determine

which information is within the scope of the information to be seized” as specified in the warrant.

See Facebook Warrant, Att. B. Only that information that is within the scope of Section II of

Attachment B may be copied and retained by the United States for use in the investigation.

       The Court may also consider the “end result of the search” to assess whether the warrants

were overbroad and their overall reasonableness. United States v. Heldt, 668 F.2d 1238, 1268

(D.C. Cir. 1981). Here, the warrants sought information pertaining to trafficking-related offenses.

And that is exactly what law enforcement found. As described in detail above, the cell phone

warrants yielded geolocation data supportive of transportation across state lines for the purposes

of prostitution, as well as series of text message exchanges in which the defendant entices the

complainant to travel from Norfolk, VA to Washington D.C. to engage in prostitution for his

benefit. See, supra, section II; Facebook Warrant Aff., Paras. 30–34. The return from the

Instagram warrant likewise shows the defendant attempting to entice another woman (“Victim 2”)

to engage in prostitution for his financial benefit. For example, in a series of messages found in the

defendant’s Instagram account between March and July 2019, the defendant told Victim 2, “Hey bitch

u need stop playing like u gangsta bitch n come on back home to daddy!”; “U was real solid u never

said a word u stucked to the H-code like a real bitch should n whenever you come back I have a top

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spot.” 7 The Instagram return also revealed various phone numbers used by the defendant and

conversations between the defendant and other known pimps, such as Rashaun Parks and

Rodriguez Cole. 8 The wealth of probative information obtained as a result of the warrants thus

undercuts the defendant’s argument that they were fatally overbroad.

          Finally, the defendant argues—without citing any controlling authority—that the

warrants were overbroad because they were not confined to a date range. Def’s Mot. Supp. 17.

The government is unaware of any precedent in this Circuit requiring a warrant to include a

temporal limitation, though such limitations may be favorable to the defendant. See, e.g., United

States v. Jacobson, 4 F. Supp. 3d 515, 526 (E.D.N.Y. 2014) (holding that “absence of a time

frame did not render the otherwise particularized warrants unconstitutionally general” where

“crimes under investigation were complex and concerned a long period of time, not simply one

or two dates of criminal activity”). Here, like in Jacobson, Detective Sullivan was investigating

a relatively complex commercial sexual exploitation scheme involving multiple alleged victims

over the span of several years across several jurisdictions. Although the application attachments

did not explicitly apply a date range to the information to be seized, they all request to seize and

search information “relating to violations of a specific statute or statutes, as described in the

search warrant affidavit.” E.g., ZTE Warrant Aff., Att. B., Para. 1. Accordingly, the statements

in the affidavit served to “amplify particularity” and put some temporal bounds for the executing

officers to apply with respect to the conduct to be investigated. See Triplett, 684 F.3d at 505.

          For these reasons, the defendant’s motion to suppress the evidence found in the cellphones

and Instagram account should be denied.




7
    Detective Sullivan is prepared to testify to this fact, if desired, at an evidentiary hearing.
8
    Id.
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       D. The Leon Good Faith Exception, If Necessary, Defeats the Motion to Suppress.

       As detailed fully above, there was sufficient probable cause to support the issuance of

these search warrants, and the delay between the seizure of the ZTE phone and the application

for a search warrant did not violate the defendant’s Fourth Amendment rights. If this Court were

to conclude otherwise, however, the evidence seized should not be suppressed under Leon’s

good faith exception to the exclusionary rule. See Leon, 468 U.S. 897.

       In Leon, the Supreme Court considered “whether the Fourth Amendment exclusionary

rule should be modified so as not to bar the use in the prosecution’s case-in-chief of evidence

obtained by officers acting in reasonable reliance on a search warrant issued by a detached and

neutral magistrate but ultimately found to be unsupported by probable cause.” Id. at 900. The

Court ultimately ruled that “suppression is appropriate only if the officers were dishonest or

reckless in preparing their affidavit or could not have harbored an objectively reasonable belief

in the existence of probable cause.” Id. at 926. The Supreme Court has suggested that an

officer’s decision to obtain a warrant is prima facie evidence that he or she was acting in good

faith. See id. at 921 n.21. This rule exists no doubt in part due to the concern that, contrary to

the Fourth Amendment’s aims, “applying the exclusionary rule to warrant searches may well

reduce incentives for police to utilize the preferred warrant procedure” in favor of warrantless

searches. See Illinois v. Gates, 462 U.S. 213, 263 (1983) (White, J., concurring).

       In Leon, the Supreme Court identified four narrow circumstances in which suppression

would remain an appropriate remedy and where reliance on a faulty search warrant would not be

objectively reasonable:




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               (1) the magistrate or judge in issuing a warrant was misled by
               information in an affidavit that the affiant knew was false or would
               have known was false except for his reckless disregard of the truth;
               (2) the issuing magistrate wholly abandoned his judicial role;
               (3) [the] affidavit [was] ‘so lacking in indicia of probable cause as
               to render official belief in its existence entirely unreasonable”;
               (4) [the] warrant [is] so facially deficient—i.e., in failing to
               particularize the place to be searched or the things to be seized—
               that the executing officers cannot reasonably presume it to be
               valid.

Leon, 468 U.S. at 923 (numbered list added); see also United States v. Spencer, 530 F.3d 1003,

1007 (D.C. Cir. 2008) (applying the “few narrow exceptions to the Leon principle”). The first

exception listed above “also has been held to apply under certain circumstances to material

omissions.” Spencer, 530 F.3d at 1007 (citing United States v. Johnson, 696 F.2d 115, 118 n. 21

(D.C. Cir. 1982)).

       None of the Leon exceptions are applicable to the search warrants in this case. 9 The

defendant has not identified any false or misleading statement or material omission in the

warrant affidavits and thus, there is no assertion that the first exception to Leon could possibly

apply. 468 U.S. at 923. Indeed, even the challenged delay between the seizure of the ZTE

phone and the application for the search warrant was spelled out explicitly for the reviewing

magistrate judge in Detective Sullivan’s warrant affidavit. ZTE Warrant Aff., Paras. 22, 27.

While insinuating that the magistrate judges’ approval of the ZTE and Facebook Warrants

“reduce[d] the warrant requirement to a mere rubber stamp,” the defendant has proffered no

evidence that Magistrate Judges Harvey or Meriweather “wholly abandoned [their] judicial role.”




9
  Besides a passing reference to United States v. Griffith, 867 F.3d 1265, 1278 (D.C. Cir. 2017),
the defendant’s motion fails to include any analysis as to why the good faith exception does not
apply here. Nevertheless, the government will summarily respond to some of the defendant’s
inaccurate characterizations and erroneous assertions of the applicable legal standard that the
Court may find relevant to its analysis.
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Leon, 468 U.S. at 923. As to the third Leon exception, the warrant affidavits clearly do not

present a paucity of indicia of probable cause such that a reasonably well-trained officer would

have known that the searches were illegal despite the magistrate judge’s authorization. See,

supra, section IV.B. Finally, with respect to the fourth exception, the affidavits and search

warrants particularized the places to be searched—that is, specific information contained in the

phones and Instagram account. See, supra, sections IV.B–C; United States v. Maxwell, 920 F.2d

1028, 1034 (D.C. Cir. 1990) (declining to suppress evidence obtained from defendant’s

apartment pursuant to search warrant under Leon despite conclusion that warrant was overly

broad).

          Of particular relevance to the Court’s good faith reliance assessment, it is common

practice for federal prosecutors to work together with law enforcement officers in drafting

affidavits in support of a warrant application. Such was the case here, as the affiant’s three sets

of warrant affidavits and attachments were reviewed thoroughly by the U.S. Attorney’s Office. 10

This fact further shows that law enforcement acted in reasonable reliance upon all warrants

issued in this case when conducting their searches. See e.g., Leon, 468 U.S. at 904 n.4 (applying

good faith exception where officers consulted with three deputy district attorneys before

submitting deficient warrant to the court); United States v. Johnson, 78 F.3d 1258, 1264 (8th Cir.

1986) (noting that seeking the advice of a district attorney is a factor weighing in favor of

determining that the officer’s reliance on the warrant was objectively reasonable); United States

v. Brown, 951 F.2d 999, 1005 (9th Cir. 1991) (noting “an officer’s consultation with a

government attorney is of significant importance to a finding of good faith”).




10
     Detective Sullivan is prepared to testify to this fact, if desired, at an evidentiary hearing.
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       In sum, none of the narrow circumstances justifying a departure from the good faith

exception articulated in Leon are present, and the officers acted reasonably in executing the

search warrants. Accordingly, to the extent this Court finds any of the search warrants defective,

or that the delay between the seizure of the ZTE phone and the applications for a warrant to

search its contents was unreasonable, the good faith exception should apply. Leon, 468 U.S. at

923. Therefore, based upon the foregoing reasons, the defendant’s motion to suppress be denied.



                                        CONCLUSION

       For these reasons, the government respectfully requests that the Defendant’s Motion to

Suppress Tangible Evidence be denied in its entirety.



Dated: November 6, 2020                      Respectfully submitted,

                                             MICHAEL SHERWIN
                                             ACTING UNITED STATES ATTORNEY

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                            CERTIFICATE OF SERVICE


        I hereby certify that the GOVERNMENT'S OPPOSITION TO DEFENDANT’S MOTION
TO SUPRESS TANGIBLE EVIDENCE was duly served upon the defendant by electronic means
via the Court’s ECF system.

      This 6th day of November, 2020.



                                        _/s/_ Amy E. Larson___                  _
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